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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE


  3SHAPE A/S,                                     )
                                                  )
                Plaintiff,                        )
                                                  )
         v.                                       )
                                                  )   C.A. No. 18-886-LPS
  ALIGN TECHNOLOGY, INC.,                         )
                                                  )
                Defendant.                        )
                                                  )
                                                  )

                                    [PROPOSED] ORDER

        At Wilmington this ___ day of ____, 2021, having considered Defendant Align

 Technology, Inc.’s (“Align”) Motion for Summary Judgment and Preclusion of Expert

 Testimony Under Daubert, as well as the papers and argument submitted in connection

 therewith, and having found that Align’s motion should be granted;

        NOW THEREFORE, Align’s motion is GRANTED as follows:

        1.     Summary judgment is entered in favor of Align that claims 1-5, 9-13, 16-19, 21

               and 22 of U.S. Patent No. 10,349,042 are invalid for lack of written description.

        2.     Summary judgment is entered in favor of Align that claims 18, 18, and 19 of U.S.

               Patent No. 10,349,042 are invalid as indefinite.

        3.     Summary judgment is entered in favor of Align that Align does not infringe

               Claims 1-25 of U.S. Patent No. 9,629,551.

        4.     3Shape is not entitled to damages on U.S. Patent No. 10,349,042 for sales

               occurring before 3Shape provided notice of that patent.
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       5.    3Shape’s expert Dr. James Zavislan cannot rely on anything other than the plain

             and ordinary meaning of “non-parallel” and “diverging.”

       6.    3Shape’s expert Dr. Edward Delp cannot contradict the Court’s claim

             construction or the meaning of “permanently disregarding” and “single

             evaluation.”

       7.    3Shape’s expert Rich Goodin is precluded from testifying.




                                              _______________________________
                                                 United States District Judge
